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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 VOIP-PAL.COM INC.

                      Plaintiff,
                                                         Civil Action No. 24-cv-03051(RDM)
                v.

 AT&T, INC., et al.

                     Defendants.

                     PLAINTIFF’S RESPONSE TO SHOW CAUSE ORDER

       COMES NOW, Plaintiff VoIP-Pal.Com Inc. (“VoIP-Pal”), by and through undersigned

counsel, in response to the Court’s May 2, 2025 Show Cause Order, and respectfully states:

       VoIP-Pal served the summons, complaint, and waiver form for each defendant through

counsel on April 23, 2025 in accordance with the Court’s January 21, 2025 order that “Plaintiff

must effectuate service of process on Defendants on or before April 23, 2025.” Service was

effected via the letters included here (without attachments) as Exhibits 1, 2, and 3.

       The AT&T Defendants have returned the executed waiver forms. The Verizon and T-

Mobile Defendants have raised questions related to service. VoIP-Pal promptly responded to those

questions, and is waiting for the return of executed waiver forms.

                                   I. STANDARD OF REVIEW.

       The Federal Rules of Civil Procedure (“Rule”) provide that

       If a defendant is not served within 90 days after the complaint is filed, the court—
       on motion or on its own after notice to the plaintiff—must dismiss the action
       without prejudice against that defendant or order that service be made within a
       specified time. But if the plaintiff shows good cause for the failure, the court must
       extend the time for service for an appropriate period.
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Rule 4(m). “Rule 4(m) provides that district courts have discretion when determining whether to

dismiss for failure to timely effect service.” Morrissey v. Mayorkas, 17 F.4th 1150, 1156 (2021)

(citing Mann v. Castiel, 681 F.3d 368, 375-76 (2012)).

       Good cause exists “when some outside factor ... rather than inadvertence or
       negligence, prevented service,” Lepone–Dempsey v. Carroll Cnty. Com'rs, 476 F.3d
       1277, 1281 (11th Cir.2007), for example, a defendant's intentional evasion of
       service, see H.R. 7152 Amendments to Federal Rules of Civil Procedure, 1982
       U.S.Code Cong. & Admin. News 4434, 4446 n.25 . . . . In sum, “[g]ood cause means
       a valid reason for delay.” Coleman v. Milwaukee Bd. of Sch. Dirs., 290 F.3d 932,
       934 (7th Cir.2002).

Mann, 681 F.3d at 374-75.

                            II. SERVICE ON THE DEFENDANTS.

                                   A. The AT&T Defendants.

       VoIP-Pal served the AT&T Defendants through their attorney on April 23, 2025. The AT&T

Defendants returned the executed waiver forms on April 29, 2025. VoIP-Pal initially planned to

wait and file proof of service for all defendants at the same time. However, VoIP-Pal instead filed

the AT&T waiver forms immediately upon receiving the Court’s May 2, 2025 Order.

                                  B. The Verizon Defendants.

       VoIP-Pal served the Verizon Defendants through their attorney on April 23, 2025. On April

25, 2025, the Verizon Defendants wrote to VoIP-Pal raising a number of issues and questioning

the effectiveness of service. That letter is included here as Exhibit 4. VoIP-Pal responded to the

Verizon letter on April 28, 2025. VoIP-Pal’s response (without attachments) is included here as

Exhibit 5. On that same day, VoIP-Pal provide a copy of its April 28, 2025 letter to the AT&T and

T-Mobile Defendants so that everyone was on the same page.

       VoIP-Pal does not agree with the arguments raised by Verizon about effectiveness of

service. Verizon previously asked VoIP-Pal not to serve the Verizon Defendants directly, and




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requested that VoIP-Pal instead serve through counsel. That correspondence is included here as

Exhibit 6. The Verizon Defendants had previously agreed in teleconference to return executed

waiver forms for each Verizon Defendant to ensure there are no proof of service issues.

                                 C. The T-Mobile Defendants.

       VoIP-Pal served the T-Mobile Defendants through their attorney on April 23, 2025. The T-

Mobile Defendants wrote to VoIP-Pal on May 1, 2025 raising a number of issues and questioning

the effectiveness of service. That correspondence is included hereto as Exhibit 7. VoIP-Pal

responded on May 2, 2025 by the letter included here (without attachments) as Exhibit 8.

       The correspondence between VoIP-Pal and T-Mobile indicates some misunderstanding

over who is represented by T-Mobile’s counsel and whether they will accept service through

counsel. It is VoIP-Pal’s understanding that, like the AT&T Defendants and Verizon Defendants,

every T-Mobile Defendant is represented by Cleary Gottlieb Steen & Hamilton LLP. VoIP-Pal had

also understood that the T-Mobile Defendants should be served through that firm.

       Cleary Gottlieb wrote to VoIP-Pal on January 5, 2025, introducing itself as T-Mobile’s

counsel in this case and asking that all communications regarding this case be directed to them.

That correspondence is attached here as Exhibit 9. Separately, on March 3, 2025, Cleary Gottlieb

wrote to VoIP-Pal asking that VoIP-Pal serve the President and Vice President of T-Mobile through

counsel, and not serve them personally. That correspondence is included here as Exhibit 10.

       If there has been a misunderstanding as to whom Cleary Gottlieb represents and for whom

they are authorized to accept service, VoIP-Pal would respectfully ask the Court for a brief

allowance of time to serve those Defendants in the normal manner.




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               D. VoIP-Pal respectfully asks that the case not be dismissed.

       VoIP-Pal believed in good faith that it complied with the requirements of Rule 4(m) and

the previous orders of this Court when it issued the April 23, 2025 letters. VoIP-Pal did not

anticipate the issues and positions taken by the Verizon and T-Mobile Defendants, and in all candor

feels somewhat hoodwinked. While there may exist a good faith miscommunication with T-

Mobile, the Verizon Defendants strenuously requested to be served through counsel and agreed to

execute the Court’s standard waiver form. There should be no question that they have been served.

If the T-Mobile Defendants resist service, or are not represented by Cleary Gottlieb, VoIP-Pal is

prepared to take any additional actions needed to effect service of process on a prompt and

expedited schedule.

       Finally, VoIP-Pal respectfully represents to the Court that it did not understand the April

23, 2025 deadline set by the Court’s January 21, 2025 order to include the filing of proof of service.

VoIP-Pal believed it had complied with that order upon serving the papers, with proof of service

to be accomplished later upon receiving the executed waiver forms from the defendants.

                                       IV. CONCLUSION.

       WHEREFORE, Plaintiff VoIP-Pal.Com Inc. respectfully states that, for the foregoing

reasons, this case should not be dismissed.

                                                Respectfully submitted,

                                                 /s/ Travis Pittman
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Filed: May 6, 2025




                                CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing Plaintiff’s Response to Show Cause

Order was served on May 6, 2025 to all counsel of record via the Court’s electronic filing system.

                                              /s/ Travis Pittman
                                             Travis Pittman




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